      Case 20-62035-pmb            Doc 28    Filed 05/13/20 Entered 05/13/20 11:07:44             Desc Notice
                                             of Deficiency Page 1 of 1
                                      UNITED STATES BANKRUPTCY COURT
                                               Northern District of Georgia
                                      Atlanta Division 1340 United States Courthouse
                                                 75 Ted Turner Drive SW
                                                    Atlanta, GA 30303
                                                      404−215−1000

In     Leona F. Thomas                                       Case No.: 20−62035−pmb
Re:                                                          Chapter: 13
                                                             Judge: Paul Baisier
       Debtor(s)

                                              NOTICE OF DEFICIENCY

You are hereby notified that Document # 26 filed on May 12, 2020, is deficient for the following reasons:

The required filing fee was not paid. Please remit required fee via cashier's check or money order payable to the
Clerk,
U. S. Bankruptcy Court, or through the Payment of Fees event if you are a registered ECF participant. Checks from a
debtor cannot be accepted. (28 U.S.C. 1930). Fee due: 31.00


Failure to timely remedy the deficiency noted above may delay prompt administration of the case, including, but not
limited to, the timely entry of the debtor's discharge. If this matter is pending before the Court, this Notice of
Deficiency does not alter any pending deadlines or remove scheduled hearings from the Court's calendar.



Date: 5/13/20                                            M. Regina Thomas
                                                         Clerk of Court

                                                         By: Edward Rodriguez
                                                         Deputy Clerk
Form 431 − Notice of deficiency 12−2017
